       Case 1:25-cv-00887-RCL         Document 54-1       Filed 06/27/25    Page 1 of 6



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 PATSY WIDAKUSWARA, et al.,

 Plaintiffs,

 v.                                                        Case No. 1:25-cv-1015-RCL
                                                           Case No. 1:25-cv-0887-RCL
 KARI LAKE, Senior Advisor to the Acting
 CEO of U.S. Agency for Global Media, et al.,

 Defendants.


 MICHAEL ABRAMOWITZ et al.,

 Plaintiffs,

 v.

 KARI LAKE, Senior Advisor to the Acting
 CEO of U.S. Agency for Global Media, et al.,

 Defendants.




DECLARATION OF FRANK WUCO

I, FRANK WUCO, hereby make the following declaration pursuant to 28 U.S.C. § 1746:

          1.   I have been serving in the role of Senior Advisor at the U.S. Agency for Global

 Media (USAGM) since May 19, 2025. I base this declaration on knowledge and information I

 have gained in the course of performing my official duties.

          2.   In that capacity, I have personal knowledge of and direct involvement in the

 current operations of the Voice of America (VOA).
     Case 1:25-cv-00887-RCL           Document 54-1        Filed 06/27/25      Page 2 of 6




         3.   Together with all other statutorily required operations we have retained, the output

of our Persian Language Service at the commencement of Israeli air operations against Iranian

targets on June 13, 2025 has highlighted VOA’s ability to respond and surge in a timely and

even predictive fashion.

         4.   Within hours, detailed coverage of the strikes on VOA Persian’s digital platforms

was steadily streaming on our websites, as well as on numerous social media platforms. And in

less than 24 hours, we began television coverage. This was a response and surge operation that

was highly successful because we maintained access to critical talent. A standout moment was

our coverage following the U.S. airstrikes on Iran’s nuclear facilities, including the President’s

address, which was carried live, and simultaneously translated. VOA Persian Service’ television

broadcasts are carried by satellite into Iran and the Greater Middle East via Yahsat Y1A at

52.5oE (Txp. 15 – Persian Mux), as well as Telstar 12 and MENA. Additionally, all content is

posted        to:          VOA         Persian’s        Website          https://ir.voanews.com/,

Instagram:     https://www.instagram.com/voafarsi/,       X:      https://x.com/voafarsi?lang=en,

Facebook: https://www.facebook.com/voafarsi/, Telegram: https://telegram.me/s/farsivoa,

Youtube: https://www.youtube.com/voafarsi.

         5.   USAGM is expanding its Afghan Service programming to 30 minutes per day.

This includes news items that are deemed by VOA’s Central Newsroom to be within the U.S.

national interest and comport with the VOA Charter.

         6.   The Afghan daily news program reflects the gold standard for professional,

unbiased, and comprehensive radio news broadcasts.

         7.   The 5-minute broadcast (2.5 minutes, each, in Dari and Pashto), was initiated on

May 28, 2025. On June 6, 2025, the Afghan broadcast was increased to 10 minutes (5 minutes,
     Case 1:25-cv-00887-RCL          Document 54-1       Filed 06/27/25     Page 3 of 6




each, in Dari and Pashto).We will increase that to 30 minutes (15 minutes, each), on June 30,

2025, or sooner if practicable. The broadcast will feature 15 minutes of news in each the Dari

and Pashto languages. Content for each is identical. The content is written in English and then

translated into Dari and Pashto; a tedious process that requires 20-minutes of work translating

and rehearsing for each minute of content written in English.

        8.   The content is broadcast live from VOA studios in the Wilbur J. Cohen building

in Washington, DC, by two native-level Dari and Pashto hosts, in turn. The signal is carried by

direct Internet IP delivery via Zixi to USAGM’s Kuwait Shortwave Transmission Station and

broadcast live into all of Afghanistan. Our receiving/monitoring stations in New Delhi, India

and in Dushanbe, Tajikistan, confirm that our shortwave transmission blankets all of

Afghanistan (and somewhat beyond), daily. Yahsat is also used for direct to home distribution

in Afghanistan.

        9.   The program is also carried on the following FM affiliate stations in Afghanistan,

all of which were contacted and added after the initial days of broadcasting had begun: FM

Radio Raihan (Estimated Audience 120,000 - Broadcast coverage includes the center of the

Takhar province and sixteen of its districts, including Khan Abad district in the Kunduz

province); FM Pamir Radio (Estimated Audience 400,000 - Coverage includes Badakhshan

province, including Fayzabad city, Argo, Khash, Yaftal-e Bala, Yaftal-e Payin, and

Arghanjkhwah); FM Radio Sar E Pul (Estimated Audience 150,000 - Coverage includes

Sarepul City, District of Sayed, District Soz Ma Gala, District Sayed Abad); FM Mehran

Radio (Estimated Audience 65,000 - Coverage includes Jawzjan province, including Aqcha,

Khwaja Dukoh, Mardian, and Khanqah. Northern Afghanistan).
     Case 1:25-cv-00887-RCL            Document 54-1         Filed 06/27/25      Page 4 of 6




        10. The program is also carried into Afghanistan via our Medium Wave (AM)

transmitter out of Dushanbe, Tajikistan, on AM 972 KHZ, Radio Orzu. This content arrives to

Dushanbe via Yahsat Y1A at 52.5oE (Txp. 12 – Afghan Mux), whence it is transmitted on the

AM channel. This transmission also blankets all of Afghanistan.

        11. Although long ignored by previous administrations, VOA is required to air

programming on the 50 U.S. states. Successive Front Office leadership cadres of the

Broadcasting Board of Governors (BBG) and USAGM have disregarded this statutory

requirement, without consequence. Attempts were made to design and implement the statute’s

requirements in the late 1990’s and were rejected by leadership. The initiative was never

implemented in any meaningful or permanent way.

        12. We are expediting corrective measures to this shortfall. We are in the process, for

the first time in agency history, of implementing a meaningful 50 U.S. States Program for our

audiences.

        13. Since May 29, 2025, USAGM Business Development staff have communicated

with appropriate state officials in all 50 states, and 110 other organizations, with overall positive

reactions. States are happy to be highlighted. We continue to follow up with organizations from

whom we have not heard back. Several states, including California, New York, Texas, New

Jersey, Florida, Illinois, and others have provided video links and content access to state

information and public service videos that highlight their natural resources, commerce and trade,

business and employment, and tourism.

        14. Our Business Development team and General Counsel are currently completing

an agreement with Brand USA's MediaValet system; a significant resource to help satisfy this
     Case 1:25-cv-00887-RCL          Document 54-1         Filed 06/27/25     Page 5 of 6




statutory requirement. Communications with Brand USA have been extremely positive and we

look forward to carrying their content on our digital platforms soon.

        15. We are currently organizing links to YouTube videos of state tourism and other

channels, so that they may be reposted on our digital platforms and should begin posting those

sometime during the week of June 30th, 2025.

        16. Like the 50 U.S. States initiative, the statutory requirement for BBG/USAGM to

broadcast and otherwise transmit and disseminate Editorials and/or other opinion type content

has received, at best, lukewarm treatment from successive BBG/USAGM Front Office

leaderships teams. While Editorials have, indeed, been present, the application of a robust

Editorials program has been inconsistent over the years.

        17. Since mid-May 2025 USAGM leadership has been discussing various ways and

means by which the rightful (and statutorily mandated) role of the Editorial may once again be

asserted at VOA. Effective immediately, and as has been discussed verbally and in email by

leadership since mid-May, we will be reinforcing editorials to fulfill this lawful mandate.

        18. However, rather than opining on, and editorializing, our own content or, “checking

our own journalistic homework,” as it were, we will now invite editorial content from across the

interagency, and from SMEs elsewhere, where they may offer comment and discourse on

various content pieces transmitted and published by VOA. We anticipate our renewed Editorial

program will commence sometime after the July 4th holiday.

        19. In Miami, Florida, the Office of Cuba Broadcasting (OCB) transmits Spanish-

language radio and television programming into Cuba using a variety of platforms to maximize

reach and accessibility. These methods include satellite transmissions via Telstar 12, social

media dissemination across Facebook, YouTube, and Instagram, and live feeds available
      Case 1:25-cv-00887-RCL            Document 54-1        Filed 06/27/25     Page 6 of 6



 through the Martínoticias.com website for both TV and radio. Additionally, OCB utilizes

 medium wave radio broadcasting on 1180 AM from Marathon Key, Florida. OCB produces 3

 hours of original content daily, which is then broadcast in a continuous 4-hour loop to ensure

 wider audience availability across different time slots. OCB, likewise, carries relevant news to

 the U.S. national interest into Venezuela and Nicaragua. The Telstar 12 footprint covers all of

 Latin America and the Caribbean. We have recommenced shortwave radio broadcasts from the

 Edward R. Murrow Shortwave Transmitting Station in Greenville, SC, as of 12:00PM EDT,

 today, June 27, 2025. This (SW) signal blankets all of Latin America and the Caribbean.

          20. Recognizing that the need to surge talent may arise at any time during this period,

 we have exercised recalls, as appropriate, and are initiating internal details and hiring Personal

 Services Contractors (PSCs) to maintain required levels of statutorily required activity.

 Presently, there are 209 active personnel onboard. With anticipated flux, including surge and

 RIF activity, those numbers may be expected to change. I have included, as an attachment to

 this declaration, a list of current active personnel (209), as of 1:35PM EDT, today, June 27,

 2025.

          21. Finally, having recently reprogrammed 5 percent of grantee funding to the agency,

 USAGM now has an additional $17,327,000.00 available for surge funding.


I declare under penalty of perjury that the foregoing is true and correct.


Dated: June 27, 2025
Washington, District Columbia

                                                                              Digitally signed by Frank

                                                    Frank Wuco                Wuco
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                                                      ___________________________
                                                      FRANK WUCO
